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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

UNITED STATES OF AMERICA §
                         §
    v.                   §                          CRIMINAL No.: 4:21-cr-466
                         §
VICTOR HERNANDEZ-PEREZ §


            UNOPPOSED MOTION BY THE UNITED STATES
          TO CONTINUE/OR CHANGE DATE FOR SENTENCING


      The United States of America, by and through Jennifer B. Lowery, United

States Attorney for the Southern District of Texas, and Charmaine Holder, Assistant

United States Attorney, Files this Motion to request a change or continuance of the

date of sentencing in this matter. The undersigned attorney for the government has

an important conflict with the current sentencing date of December 14, 2022, and

therefore requests that this sentencing be continued to another date in the following

week of December 19, 2022, or to another future date.

      The attorney for the Defendant has been consulted and indicates that there is

no opposition to this administrative change, as it will not prejudice the Defendant.

                                CONCLUSION

      For the reasons stated above, the United States respectfully requests that this

Court Re-set the date of sentencing to the next week or to another date in the near

future.
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                                                   Respectfully submitted,

                                                   JENNIFER B. LOWERY
                                                   United States Attorney
                                                   Southern District of Texas

                                                   /s/ Charmaine Holder
                                                   CHARMAINE HOLDER
                                                   Assistant United States
                                                   Attorney
                                                   1000 Louisiana Street,
                                                   Suite 2300
                                                   Houston, Texas 77002
                                                   (713) 567-9000
                                                   (713) 718-3300 fax


                      CERTIFICATE OF CONFERENCE


      Counsel for the government has consulted with Counsel for the Defendant and

he/she is not opposed to this purely administrative change.

      SIGNED: s// Charmaine Holder, Assistant United States Attorney

                         CERTIFICATE OF SERVICE


      A Copy of The GOVERNMENT’S Motion to Continue or Change the Date

for Sentencing was filed and served by ECF/Email on Counsel of Record for The

Defendant in this matter, on December 2, 2022.

      SIGNED: s// Charmaine Holder, Assistant United States Attorney
